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                          DECLARATION OF BONNIE MITCHELL
                             PURSUANT TO 28 U.S.C. § 1746

        My name is Bonnie Mitchell, I am over 18 years old. I have personal knowledge of the

 facts stated below. If called as a witness, I could and would testify as follows :


    1. In 2016 I received a letter in the mail advertising a seminar in Phoenix that would show

        me how to replace my full time income by working as little as 10 hours a week.

    2. I went to the seminar and heard a presentation from a company called MOBE. According

        to the presentation, MOBE sold business education products to different companies.

        MOBE had over 100 different books that covered topics ranging from how to hire

        employees to how to do business taxes.

    3. MOBE was recruiting people to sell their product to these companies. People who signed

        up with MOBE would purchase e-mail lists, send the people on the e-mail lists MOBE

        advertisements, and then receive a commission on products that the companies

        purchased.

    4 . At the seminar in Phoenix, several MOBE associates made presentations where they

        talked about how easy it is to make money through MOBE.          At the end of the seminar in

        Phoenix I paid $2,497 for a license to sell the MOBE products

    5. Later, I paid $545 to attend a 3-day seminar in Las Vegas. I believe the seminar was in

        June 2016. At the seminar, several speakers talked about how much money they had

        made through MOBE. I remember that several of them kept laughing and talking about

        how easy it was to make money. They explained that once I signed up, I could buy e-

        mail lists from companies, then send MOBE advertisements to those e-mail lists and start

        rece1vmg a comm1ss10n.




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    6. I remember being told that if I signed up, then in as little as ten days I could quit my job

       and work full time. I was working at a warehouse, and I was excited about the prospect

       of quitting my job to work full time with MOBE.

    7. Over the next 4 months, I worked on the MOBE program, but I wasn't ever able to make

       any money.

    8. I regularly went to the website www.mobe.com. The website had several training videos

       that you could watch with tips for how to make money. I remember on some of the

       videos, Matt Lloyd talked about how fast he had made money and all the different people

       who had made money through MOBE.

    9. On some of the training videos, there were other programs that you could sign up for.

       Some of them cost $5,000 or $10,000 and MOBE said if you signed up for those

       programs you could make money faster. MOBE also gave examples of people who made

       money through the programs. I remember one about a girl who had been paid $10,000

       for two sales that she made.

    10. On June 18, 2016, I purchased a product called "We Sell Clicks 400 Clicks." I was told

       that I was buying "traffic." More specifically, I was buying a list of people who had

       already expressed interest in starting a home business. I was told that around 10% of the

       people on the list would purchase a product, and I would receive commission on products

       they bought from MOBE. I agreed to spend $520 on this traffic.

    11. When I purchased the traffic, MOBE sent me a list ofIP addresses that they said they

       would be sending advertisements to on my behalf. There were around 500 IP addresses.

       MOBE did not give me contact information for the people on the list, so I wasn't able to

       reach out to them directly.



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    12. At one point, I also paid $50 for a " 10 day quick start" program where MOBE told me I

       could make $10,000 in 30 days. As part of the program, 10 ofMOBE's top earners told

       me 10 different ways to make money. I tried several of the recommended tips, but none

       of them worked.

    13. On June 19, 2016, I received an e-mail from Matt Lloyd. In the e-mail Matt told me that

       I may make an acceptable or even good income with the MOBE License Right Program I

       had purchased, but if I didn't purchase the Titanium or Platinum package I would remain

       one step away "from the kind of money that really changes lives." A true and correct

       copy of this email is attached to my declaration as Exhibit A.

    14. MOBE told me to use the website www.mobe.com/members to track my sales through

       the program. I regularly clicked on the website to see if I had made any sales. At some

       point, I saw that I had three conversions, which meant that three of the people I had sent

       e-mails to had decided to purchase products through MOBE. I expected that MOBE

       would pay me a commission for these conversions, but they never did. I called MOBE

       customer support to ask why I hadn' t been paid, and the person I spoke with said that

       maybe the people had changed their mind. They never gave me a complete explanation

       about why they didn' t pay me commissions.

    15. I worked with a mentor named John Chow. John told me that he had made $10,000 to

       $40,000 a day with MOBE. I asked him how he had made so much money when I hadn't

       even made a single sale, and he told me that he had a "warm market." He recommended

       that I go to a Supercharge Summit where I could hear from other top earners to learn their

       techniques.




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     16. Based on his recommendation, in September 2017 I paid $497 to attend the Supercharge

        Summit. Different people at the Summit made different recommendations about how to

        make money through MOBE like selling on Facebook, or selling products at yard sales so

        that I would have extra money to buy e-mail lists.

    17. I eventually quit the program when I couldn't afford the advertising costs. I probably

        spent close to $1,000 on supplemental advertisements but I never received any

        commission on any sales.

    18. I asked MOBE for a refund. The first time I asked was within 45 days of signing up.

        The person I spoke with told me that I hadn't been working the program long enough and

        that I should really give it a try. The second time I asked for a refund was later, more

        than a year after I bought the program. I looked up the refund policy on the MOBE

        website and I saw that to get a refund, I would have to provide all sorts of information

        showing them that I had been buying leads and doing Facebook advertisements. I didn't

        have any of that information, and I didn't know that was required to get a refund.




 I declare under penalty of perjury that the foregoing is true and correct.

  Executed on    ·n   (9_,{)---   9       2017 in Peoria Arizona
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 Bonnie Mitchell




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From: info @ml. mo be-mail.com <info@ml.mobe-ma il. com> on behalf of Matt Lloyd <mattlloyd@ mobe.com>
Sent: Sunday, June 19, 201610:01 AM
To: Bonnie Mitchell
Subject: How bad do you want it?

Bonnie,

How bad do you want it?

I remember when I first started my online business, I
could literally taste how bad I wanted to succeed.

Desire is a powerful motivating force, and it has a
lot to do with success ...

... but desire it NOT enough .

You have to TAKE ACTION and do something in
order to change your life.

As much as I want to help you succeed (and I do),
 I can only take you so far.

I have given you the keys to unlock the door, but
you have to walk through.

By joining the MOBE License Rights Program, you've already
identified yourself as someone who is serious about making
money online.

But for you to get to that NEXT LEVEL. ..

... the upper echelon that only the TOP 1% of on line
entrepreneurs reach ...

... then you need to join my Titanium or Platinum

                                                        1



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mastermind program.

When you do, you will be in the elite company of the
 VERY FEW people who make real lasting money in
this business.

If you do nothing, you may make an acceptable
{even good) income as a regular MOBE Licensee,
but you'll be just one step away from the kind of
money that really changes lives.

It's so close ... you should feel like you can almost
touch it.

Go ahead.

Walk through the door.

Apply for Titanium or Platinum at the link below now.

http ://mobe.com/nextlevel/

To Your Success,
Matt Lloyd



P.S. I'm available to chat with you personally through our
Facebook group - come on over and join us here:

ht t ps://vvww.fa cebook.com/grou P._ s( mattl loyd/

***NOTE: Please do not reply directly to this email, instead go to:
ht tp ://mo be.com/suppor'




Clic k Here to Unsubscribe
If you wish to stop receiving our emails or change your subscription options, please Manage Your Subscript ion
MOBE Ltd., B1-28-8, Soho Suites at KLCC,, Kuala Lumpur, 50450




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                            DECLARATION OF PEGGY MOYEDA
                              PURSUANT TO 28 U.S.C. § 1746

        My name is Peggy Moyeda, I am over 18 years old. I have personal knowledge of the

 facts stated below. If called as a witness, I could and would testify as follows:

    1. In July 2017, I was looking for an opportunity to make money working from home so

        that I could contribute to my family's finances.

    2. I did some online searches and found a product called My Internet Education. The

        product cost $97, and it was supposed to teach me how to make money on the internet.

    3. My Internet Education offered a series of 21 videos that were supposed to provide me an

        internet education. At some point, My Internet Education introduced to something called

        MOBE.

    4. What I learned most though was how to lose money and not earn anything.

    5. At the beginning of the program, I was assigned a coach named Raphael Farnese. I

        would watch a couple videos and then have a call with Raphael. He would give me

        homework to do, and discuss the videos that I had watched.

    6. After the first 4 or 5 videos, my coach told me that I could purchase a different package.

        My coach persuaded me to spend $2,497 to buy the silver and gold packages. When I

        paid the $2,497 the statement on my credit card said the charge was made by a company

        called "We sell good traffic."

    7. After I bought the silver and gold packages I was assigned a new coach, Ty Coughlin.

        My lessons with Ty were similar to my lessons with Raphael. I would watch a few

        videos, then meet with Ty to go over what I had learned and he would unlock more

        videos.



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    8. Throughout the lessons, I remember several times when my coach asked me about my

        goals. I told him that I just wanted a home business so that I could contribute to my

        family's finances, and $5,000 a month would be great. I remember my coach telling me

       that my goals were too low, and that I should aim to make at least $25,000 a month.

    9. Although they kept telling me that I should aim to make a lot of money, they never gave

       me any data on what average purchasers earned. They also never gave me information

       about other MOBE customers for me to call and ask about their experiences.

    10. I remember Ty saying that getting other people to purchase the silver and gold

       masterclass would be "like shooting fish in a barrel." He made it seem like it would be

       easy to make money by earning commission from people who purchased the

       masterclasses.

    11. The videos I watched also lead me to believe that I would make money through MOBE.

       In the videos, Matt Lloyd said that instead of working for my money, I could let my

       money work for me through MOBE.

    12. In another video Matt Lloyd compared MOBE to a franchise. He said that franchises

       were successful because they had a step-by-step way of doing things and Matt Lloyd said

       that MOBE had a similar approach. I also remember Ty saying that MOBE was like

       follow the leader.

    13. At around the 15th step, Ty told me it was time to decide how I was going to proceed.

       He said I needed a "game plan." At that point, he told me about new packages I could

       buy called Titanium, Platinum, and Diamond. Ty explained that I'd only get commission

       on people who come in at levels that were under me. That meant that if I bought the

       Platinum package, and I brought someone in at the Diamond level, then I wouldn't get



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       commission on that referral. He also told me that if I invested at these higher levels, then

       I would get commission for life on anyone I referred.

    14. Ty persuaded me to buy all 3 packages, which brought my total investment to more than

       $55,000. I wouldn't have spent this much money if MOBE hadn't lead me to believe that

       I would make money through their program.

    15. While I was watching the 21 videos, Ty also convinced me to pay a company called Pixx

       so that I could get traffic. Ty explained that, I would pay Pixx for traffic, they would

       send the traffic to MOBE, MOBE would make the sales, and I would get the

       commissions. Ty gave me a form to fill out so that I could buy the traffic from Pixx.

    16. I paid Pixx $4,900 for traffic. I was supposed to be able to logon to a site called MOBE

       back office where I could see what was happening with the traffic I bought, but I was

       never able to logon. I asked for help logging on to MOBE back office, but no one ever

       helped me log on.

    17. After going through the 21 steps, Ty referred me to a traffic coach who he said would

       help teach me how to get my own traffic. Ty never said anything about the traffic coach

       costing more money, but the traffic coach's services cost $12,000.

    18. The traffic coach mentioned a fellow who had been very successful in placing Facebook

       ads, and he said they would teach me 3 "funnels" of internet traffic. He said that I would

       "be profitable quickly" ifl spent $12,000, so I agreed to pay another $12,000 to the

       traffic coach.

    19. After I agreed to that payment, I got an e-mail from him where he told me to let my bank

       know that I may need more money available within 24 hours.




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     20. This e-mail made me suspicious. I had already invested so much money without seeing

         any return, and now I was being told that there may be more costs.

     21 . I decided to cancel the program and try to get my money back. I immediately asked for a

        refund of the $12,000, which would have been within a day or two of making the

        purchase. My traffic coach called me and tried to talk me out of it. He said that they can

        get me a "paycheck" and that ifl gave them a chance I would make money. He said it

        was "almost guaranteed" that I would make at least $8,000. l told him I wasn't

        interested.

    22. I also tried to get a refund from Pixx but they told me that after 5 days they don't refund

        customers for any reason.

    23 . I then contacted MOBE and asked for a refund. On MOBE's support page there was a

        form you could fill out to request a refund. It said that they generally get back to you in

        12 hours. I filed a refund request on September 30, and again on October 4, and again on

        October 9. MOBE never responded to any of my refund requests.

    24. Altogether, I spent close to $60,000 with MOBE and another $4,900 with Pixx. I took

        money out of my retirement account, and I spent the money because they lead me to

        believe that I would replace my investment. I never made any money.




 I declare under penalty of perjury that the foregoing is true and correct.

  Executed on   {lt-1,)    /d-.     2017 in North Salt Lake, Utah.



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